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                                          IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

HI-TECH AUTOMOTIVE, LTD., an Illinois corporation, )
and AERON DEVERA,                                  )
                                                   )
                Plaintiffs,                        )
                                                   )
vs.                                                )                                     Case No. 16-cv-4230
                                                   )                                     Judge Ruben Castillo
THE TOWN OF CICERO, an Illinois municipality,      )
LARRY DOMINICK, in his individual capacity,        )
ANTONIO MARZANO, in his individual capacity,       )
and ISMAEL VARGAS, in his individual capacity,     )
                                                   )
                Defendants.                        )

         NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs, Hi-
Tech Automotive, Ltd. and Aeron Devera, by their attorneys Riccardo A. DiMonte and Ryan R. Van
Osdol, hereby give notice that the above captioned action is voluntarily dismissed, without prejudice
against all defendants.

Date: June 17, 2016
                                                                          Respectfully submitted,
                                                                          HI-TECH AUTOMOTIVE, LTD., an
                                                                          Illinois corporation and AERON DEVERA

                                                                    By:   s/ Riccardo A. Di Monte
                                                                          One of the Attorneys for Plaintiffs
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                                                               CERTIFICATE OF SERVICE

        I, Riccardo A. DiMonte, do hereby certify under penalties of perjury, that by 5:00 p.m. on
June 17, 2016, I served (or caused to be served) upon counsel of record, via the court’s electronic
notification system, a copy of the NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
F.R.C.P. 41(a)(1)(A)(i).

                                                                             By:   /s/ Riccardo A. DiMonte
                                                                                   Riccardo A. DiMonte




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